
Hall, J.
Where an employe of a foreign railroad company brought suit in this State on account of an injury recieved in the State where the railroad was chartered, although the evidence may have made a very weak ease, yet where was possibly enough evidence, if uncontradicted, to enable the jury to say that the injury was occasioned by the defective machine^ of the company, and where the law which should determine the plaintiff’s right was somewhat uncertain, and it was' doubtful whether, under the common law, which was of force in the State where the casualty occurred, he sustained the relation of co employe to the company’s agent whose negligence caused the damage, the case should have been allowed to go to the jury, and the nonsuit was error. Fraser et al. vs. Charleston &amp; Savannah R. R. Co., (present term.) 1 Ga. Law Reporter, p. 263.
Judgment reversed.
